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  UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF RHODE ISLAND

  WAGNER JACINTO AND
  CESILIA RODRIGUEZ

        VS                                                    20-CV-384-MSM-PAS

  WILMINGTON TRUST COMPANY AS
  SUCCESSOR TRUSTEE FOR THE BENEFIT
  OF THE CERTIFICATE HOLDERS OF
  POPLAR ABS, INC MORTGAGE
  PASS-THROUGH CERTIFICATES SERIES 2005-C,
  PHH MORTGAGE CORPORATION



                   MOTION TO AMEND SCHEDULING ORDER


        Plaintiffs, by their attorney, move to Amend the Scheduling Order in this by

  extending discovery for an additional sixty days. Wilmington Trust Company, the

  primary defendant in this case is no longer the mortgagee based on an assignment

  recorded in the Land Evidence Records of the Town of Central Falls. The named

  mortgagee by virtue of that assignment of mortgage is US Bank National

  Association as Trustee for NRZ Pass-Through Trust XI. As a result, the Plaintiff’s

  complaint must be amended. In addition, Plaintiffs has requested that the

  Defendants’ attorney provide the original promissory note for inspection. However

  there has been no response in regard to this request and Plaintiffs are filing today a

  Motion to Compel which will not be heard within the time of the current discovery
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  schedule. Plaintiffs have an expert witness, who will travel to Rhode Island to

  examine the promissory note to determine if it is authentic.

        Another reason for extending discovery for all parties is that the Plaintiffs

  will serve a Subpoena duces tecum on the Keeper of the Records of Hinshaw

  Culbertson, LLP, which forwarded and received the loan modification documents

  to and from Ocwen Loan Servicing, LLC and transmitted certain payments made

  by the Plaintiffs to Ocwen in 2014 through 2016. A records deposition of the

  records of the transmittal of those documents and payments will be scheduled

  which must thus be extended beyond the current scheduling deadline.

        Plaintiffs have also requested that PHH provide dates for a FRCP 30(b)(6)

  deposition, which has not yet been responded to by Defendants. They today are

  serving PHH Mortgage with a subpoena duces tecum for records, which deposition

  is scheduled for January 30, 2021. They are also preparing a Subpoena for Rhode

  Island Housing regarding authentication of documents sent to it and processed by it

  regarding a purported mediation notice from Ocwen Loan Servicing.

        A very basic reason for amending the scheduling Order for all parties is that

  the Plaintiffs must file an Amended Complaint to add US Bank as Trustee.

  Otherwise the Plaintiffs will have to file a separate action, which would constitute

  duplicate litigation, which would not be appropriate given the fact that the current

  litigation against Wilmington is solely for damages and no longer includes any

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  claim for injunctive relief. As a result, the current status of the pleadings results in

  this Court lacking jurisdiction due to the case being removed solely on the basis of

  diversity jurisdiction. The case consists of four counts which seek the following

  relief:

  Count I is a claim against Wilmington which seeks:

  a. Actual damages and punitive damages against Wilmington for failure

  to comply with the terms of the mortgage and for legal fees and actual

  damages arising from the breach of contract and for failure to comply with

  the terms of the mortgage and R.I.G.L 34-27-4, R.I.G.L. 34-27-32 and

  R.I.G.L 34—27-3.1.

  This claim does not in any manner establish diversity jurisdiction as the damages

  for a wrongful foreclosure is less than $75,000.00.

            Likewise, Count II sought damages against Wilmington alleging the

  following damages:

  a. Actual damages and punitive damages against Wilmington for failure
  to comply with the terms of the mortgage and for legal fees and actual
  damages arising from the breach of contract and for failure to comply with
  the terms of the modified mortgage.

  Since Wilmington no longer claims to own the note and the mortgage, there is no

  diversity in regard to this count.

  Count III was for injunctive relief requesting the following relief:


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  a. Declare that all actions of Wilmington in attempting to foreclose on
  the Plaintiffs’ property, without complying with the provisions 0f R.I.G.L. § 34—
  27-4, R.I.G.L. § 34-27—31, R.I.G.L. § 34-27-32, and the terms of the mortgage
  and note as modified are void.

  b. Grant a Preliminary Injunction and Permanent Injunction Restraining
  and Enjoining Defendants and any other entity acting on their behalf from taking
  any action to conduct a foreclosure sale at 53 Wetmore Street, Central Falls,
  Rhode Island or from advertising a foreclosure sale or adjourning 0r continuing a
  sale.


  Since Wilmington is no longer a party in interest this relief cannot be granted.

  Furthermore as per Judge Smith’s order remanding the case in Walker v. Bank of

  New York,19-cv-310, the injunctive relief sought merely required Wilmington to

  foreclose only after complying with R.I.G.L. 34-27.3.2, 34-27-3.1 and the terms of

  the note and the mortgage.

          Finally Count IV was solely for a violation of the RI FDCPA, which clearly

  did not include a demand for damages in excess of $75,000.00:

  A. Judgment against PHH for actual damages, and statutory damages of
  $1,000.00 for each Violation of the RIFDCPA.
  B. Judgment against PHH for legal fees and costs for the prosecution 0f
  this action.

  This case as it currently is pleaded is comparable to Walker, in which Judge Smith

  held:

  the gist of the Complaint is clear: Plaintiff believes that the attempted foreclosure
  did not strictly comply with the mortgage agreement, and he therefore seeks to
  prevent foreclosure absent strict compliance. In context, therefore, the Court
  interprets the reference to a permanent injunction as repeating the request for an
  injunction barring foreclosure absent compliance with the terms of the mortgage.
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  Thus, the Court concludes that neither the value of the property nor the amount
  owned on the loan represents the amount in controversy.

        Thus there are valid reasons for the extension of the scheduling Order for

  both parties. This Court currently lacks jurisdiction over this action and an

  essential party in interest has not been joined to the case. Plaintiffs will file a

  Motion to File an Amended Complaint before December 31, 2021 in order to

  provide this Court jurisdiction and to avoid having to file a separate action.

  Plaintiffs requested that the scheduling Order be extended for both parties and

  indicated the lack of diversity in this matter, with no agreement by Defendants to

  extend discovery for all parties

        For these reasons this Court should grant the mutual discovery extension for

  all parties for sixty days and to amend the scheduling Order by adding an

  additional sixty days to each deadline.


                                                  WAGNER JACINTO
                                                  CECILIA RODRIGUEZ
                                                  By their attorney,


  December 23, 2021                               /s/ John B. Ennis
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                           CERTIFICATE OF SERVICE



             I hereby certify that this Motion was served on all parties by efiling on

  December 23, 2021



       /s/ John B. Ennis




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